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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 HON. PAULINE NEWMAN,

                    Plaintiff,                       Case No. 1:23-cv-01334-CRC

          v.

 HON. KIMBERLY A. MOORE, et al.,

                    Defendants.


                  JOINT MOTION TO AMEND BRIEFING SCHEDULE
       Plaintiff in this case has filed a preliminary-injunction motion, and Defendants have

filed a combined opposition and cross-motion to dismiss. See ECF Nos. 12, 24–25. Under

the Court’s ordered schedule, Plaintiff’s combined opposition and reply is due 21 days after

the September 20, 2023 Order of the Federal Circuit Judicial Council. See ECF No. 22. Ac-

cordingly, Plaintiff’s brief is currently due October 11, 2023. Due to the press of other matters

for undersigned Plaintiff’s counsel, the parties now jointly move to amend the briefing sched-

ule as follows:


                      Brief                                          Date
   Plaintiff’s combined opposition and reply       October 25, 2023
   Defendants’ reply                               November 17, 2023
       A proposed order is attached.




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DATED: October 2, 2023                     Respectfully submitted,

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